Case 24-3 949-SGl
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| United States Bankruptcy Court for the:

USA District of

1F-A484-

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DEC 0'2 2024

USA

(State)

Case number (if known):

Chapter 15 CI Check if this is an

Official Form 401

Chapter 15 Petition for Recognition of a Foreign Proceeding

CLERK, U.S. BANKRUPTCY GOURT
NORTHERN DISTRICT OF TEXAS

amended filing

12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).

1. Debtor’s name

2. Debtor's unique identifier

3. Name of foreign
representative(s)

4. Foreign proceeding in which
appointment of the foreign
representative(s) occurred

5. Nature of the foreign
proceeding

6. Evidence of the foreign
proceeding

7. Is this the only foreign
proceeding with respect to
the debtor known to the
foreign representative(s)?

Official Form 401

NASDAQ , INC. , EIN# XX-XXXXXXX

For non-individua! debtors:

9 Federal Employer Identification Number (EIN)

QQ other . Describe identifier

For individual debtors:

9g Social Security number: xxx — xx— 9 9 0 9

C)
Q)

Individual Taxpayer Identification number (ITIN): 9 xx — xx —

Other . Describe identifier

ROBERT W JOHNSON , SS# XXX-XX-XXXX

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(Sk, &,
BANKRUPTCY AND WHISTLEBLOWER . Nps? Us eg
"ERA C4 Ny
Op Re
Ren Yeo
Check one: Ep
Ne. 7B, iS
QO Foreign main proceeding
O Foreign nonmain proceeding
Foreign main proceeding, or in the alternative foreign nonmain proceeding

A certified copy, translated into English, of the decision commencing the foreign proceeding and
appointing the foreign representative is attached.

A certificate, translated into English, from the foreign court, affirming the existence of the foreign
proceeding and of the appointment of the foreign representative, is attached.

Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
representative is described below, and relevant documentation, translated into English, is attached.
(see attached documents)

4 No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
debtor is pending.)

Q) Yes

Chapter 15 Petition for Recognition of a Foreign Proceeding page 1
Case 24-33949-sgj15 Doc1 Filed 12/02/24 Entered 12/03/24 14:57:17 Desc Main

Document Page 2of3
DocuSign Envelope ID: 4CB9368E-1470-481F-A484-A7FFD08DA/70D

NASDAQ , INC. , EIN# XX-XXXXXXX

Debtor __ - Case number (if known}
Name

a. Others entitled to notice Attach a list containing the names and addresses of:
(i). all persons or bodies authorized to administer foreign proceedings of the debtor,

(ii) all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
petition, and

(ili) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.

9. Addresses Country where the debtor has the center of its Debtor’s registered office:
main interests:

USA ONE LIBERTY PLAZA
OO Number Street
P.O, Box
NEW YORK , NY 10006
City State/Province/Region Z!P/Postal Code
USA
Country
Individual debtor’s habitual residence: Address of foreign representative(s):

SIDN
65 SIDNEY ST 65 EY ST

Number Street Number Street
P.O. Box ~ P.O. Box
BUFFALO , NY 14211 BUFFALO , NY 14211
City State/Province/Region ZIP/Postal Code City State/Province/Region ZIP/Postal Code
USA USA
Country Country
: .
10. Debtor’s website (URL) ir.nasdag.com __
11. Type of debtor Check one:

Q) Non-individual (check one):

a] Corporation. Attach a corporate ownership statement containing the information
described in Fed. R. Bankr. P. 7007.1.

Q) Partnership

J Other. Specify: FOREIGN STOCK EXCHANGE

Individual

Official Form 404 Chapter 15 Petition for Recognition of a Foreign Proceeding page 2
Case 24-33949-s Sgjt5 Doc 1 Filed 12/02/24 Entered 12/03/24 14:57:17 Desc Main
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NASDAQ , INC. , EIN# XX-XXXXXXX

Debtor Case number (if known)
Name

12, Why is venue proper in this Check one:
district? 1 Debtor's principal place of business or principal assets in the United States are in this district.

1 Debtor does not have a place of business or assets in the United States, but the following
action or proceeding in a federal or state court is pending against the debtor in this district:

(2 Ifneither box is checked, venue is consistent with the interests of justice and the convenience
of the parties, having regard to the relief sought by the foreign representative, because:

13. Signature of foreign | request relief in accordance with chapter 15 of title 11, United States Code.

representative(s)
| am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
relief sought in this petition, and | am authorized to file this petition.
| have examined the information in this petition and have a reasonable belief that the
information is true and correct.
| declare under penalty of perjury that the foregoing is true and correct,
DocuSigned bi f a
SSS /7,
x EY / Le Robert w Johnson ESQ
Signatu ntative Printed name
KK
Executed on
MM /DD/ YYYY
x RES + | Robert W Johnson ESQ
Signature Usleighwbresentative Printed name
Executed on
MM /DD/ YYYY
~ ~ Sagusianed by:
14. Signature of attorney x Date
cu i MM /DD  /YYYY
Robert wW Johnson ESQ
Printed name
Robert w Johnson ESQ
Firm name
65 SIDNEY ST
Number Street _
BUFFALO NY 14211
City State ZIP Code
716-445-1734 atem11¢2023@gmail.com
Contact phone Email address
9999999-9 USA
Bar number State

Official Form 401 Chapter 15 Petition for Recognition of a Foreign Proceeding page 3
